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   Secured Creditor,
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 8                               UNITED STATES BANKRUPTCY COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN JOSE DIVISION
11

12 In re                                               Case No. 22-50339-SLJ

13 MICHAEL HAROUTUN MIROYAN,                           RS No. UOR-1

14                     Debtor.                         Chapter 13

15                                                     MOTION OF CREDITOR GANG
                                                       “PATRICK” CHEN FOR RELIEF FROM
16                                                     THE AUTOMATIC STAY;
                                                       MEMORANDUM OF POINTS AND
17                                                     AUTHORITIES IN SUPPORT THEREOF
18                                                     [Request for Judicial Notice and Declaration of
                                                       Gang “Patrick” Chen filed concurrently
19                                                     herewith]
20                                                     Date:   September 6, 2022
                                                       Time:   10:30 a.m.
21                                                     Crtrm.: Courtroom “9”
                                                               280 South First Street
22                                                             San Jose, California 95113

23            Gang “Patrick” Chen (the “Creditor” or “Mr. Chen”), secured creditor in the above-
24 entitled bankruptcy case (the “Present Case”), moves (the “Motion”) for full and complete relief

25 from the automatic stay under 11 U.S.C. § 362(d)(1)1 of the Bankruptcy Code, and in rem relief

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27   1
    Unless stated otherwise, all section references are to the United States Bankruptcy Code, codified
28 under 11 U.S.C. sections 101, et seq.

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 1 from the automatic stay under § 362(d)(4), to allow him to continue the judicial foreclosure of an

 2 undeveloped real property located in Hawaii, identified in Michael Haroutun Miroyan’s

 3 (“Miroyan” or the “Debtor”) bankruptcy schedule A/B, Item 1.2 as: “Empty Lot in Hawaii, Lot 3-

 4 6-8-002-021,” referred to herein as “Parcel 21” or the “Property.” (Request for Judicial Notice, at ¶

 5 “21.”)

 6            The Motion is made on the grounds that “cause” exists for the requested relief. Debtor has

 7 engaged in clear efforts to hinder, delay or defraud his creditors, including Mr. Chen, through

 8 multiple transfers of properties, including this Property, and the filing of multiple bankruptcy cases

 9 that were designed to hinder and delay pending foreclosure proceedings without the intent or ability

10 to reorganize or pay creditors on their claims. Mr. Chen seeks an in rem relief order to protect

11 against future efforts by the Debtor to avoid legitimate collection efforts by transferring the

12 Property to other entities that then seek bankruptcy court protection.

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 1                               MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                       I.
 3                                                   FACTS
 4            1.       On October 10, 2013, Mr. Chen and Hawaiian Riverbend entered into a promissory
 5 note (the “Promissory Note”) in the principal amount of $175,000.00 (the “Loan Amount”). The

 6 Promissory Note called for repayment of the loan amount plus interest at an annual rate of 14%,

 7 calculated from October 10, 2013. As of June 22, 2022, interest accrued on the loan amount was

 8 $212,333.00, and attorneys’ fees were at least $24,932, for a total balance owed on the Promissory

 9 Note of $412,265.00 (the “Loan Balance”). The interest continues to accrue at the daily rate of

10 approximately $68.05. (Declaration of Gang “Patrick” Chen, at ¶ “5.”)

11            2.       The Promissory Note is secured by a mortgage dated October 8, 2013, recorded

12 against a real property identified as: Lot 3-6-8-002-021, referred to herein as “Parcel 21” or the

13 “Property,” registered in the Bureau of Conveyances of the State of Hawaii as document number

14 A-50360170 (the “Mortgage”). (Declaration of Gang “Patrick” Chen, at ¶ “3.”)

15            3.       On January 11, 2014, the Promissory Note matured, with no amount paid towards it.

16 (Declaration of Gang “Patrick” Chen, at ¶ “4.”)

17            4.       On February 3, 2016, Mr. Chen filed a complaint for foreclosure of the Mortgage
18 against Hawaiian Riverbend (the “Foreclosure Complaint”) in the Circuit Court of the Third

19 Circuit of the State of Hawaii, Civ. No. 16-1-043K. (Request for Judicial Notice, at ¶ “1.”)

20            5.       On that same date, Mr. Chen filed a corollary notice of pendency of action in the

21 Circuit Court of the Third Circuit of the State of Hawaii, Civ. No. 16-1-043K (the “Notice of

22 Action”). (Request for Judicial Notice, at ¶ “2.”)

23            6.       On April 4, 2016, Hawaiian Riverbend filed for bankruptcy under Chapter 11 of the
24 Bankruptcy Code (the “Code”) in the United State Bankruptcy Court for the District of Hawaii,

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 1 Bankr. No. 16-00348 (the “2016 Chapter 11 Bankruptcy Case”). (Request for Judicial Notice, at

 2 ¶ “3.”)2

 3            7.       Hawaiian Riverbend’s second amended plan of reorganization was filed on October

 4 7, 2016, and confirmed by the Court on December 23, 2016. The plan classified Mr. Chen’s claim

 5 in Class 3 and provided for the sale or auction of Parcel 21 on or before November 30, 2017.

 6 (Request for Judicial Notice, at ¶ “4.”)

 7            8.       Hawaiian Riverbend failed to comply with the plan, resulting in dismissal of the

 8 Chapter 11 Bankruptcy Case on February 2, 2018. In dismissing the Chapter 11 Bankruptcy Case,

 9 the Court found,

10                     Cause exists to dismiss the case because the Debtor is admittedly in
                       material default of its obligation under the Plan. Debtor failed to
11                     conduct a sale of the properties and later failed to submit them for
                       auction. Debtor’s counsel made it clear at the status conference on
12
                       January 8, 2018, that Debtor does not intend to comply with the
13                     Plan…. The Debtor has had more than a year to comply with the
                       Plan, but has chosen not to do so. The Debtor has made no
14                     substantial efforts to sell the properties in accordance with the Plan.
15 (Request for Judicial Notice, at ¶ “5.”)

16            9.       Shortly after Hawaiian Riverbend’s bankruptcy was closed, on August 9, 2018, Mr.
17 Miroyan, as the sole member of Hawaiian Riverbend, caused Hawaiian Riverbend to transfer

18 ownership of the Property to himself through a warranty deed (“Warranty Deed”) that he executed

19 on behalf of Hawaiian Riverbend. The transfer was made for no consideration. (Declaration of

20 Gang “Patrick” Chen, at ¶ “6.”)

21            10.      Without notice, and without scheduling Mr. Chen as a creditor, on or about
22 November 26, 2018, Mr. Miroyan filed a voluntary petition for relief under chapter 13 of title 11

23 of the United States Bankruptcy Code, giving rise to bankruptcy case no. 18-52601-MEH (the

24 “2018 Bankruptcy Case”). (Request for Judicial Notice, at ¶ “7.”)

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     2
    According to the Statement of Financial Affairs filed in the 2016 Chapter 11 Bankruptcy Case,
27
   Michael Miroyan owned 100% of Hawaiian Riverbend at the time that case was filed. (Request for
28 Judicial Notice, at ¶ “3.”)

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 1            11.      Debtor was the sole member of Hawaiian Riverbend, LLC, a Hawaii limited liability

 2 company at the time he filed his 2018 Bankruptcy Case. (Request for Judicial Notice, at ¶ “8.”)

 3            12.      In Schedule A/B filed in the 2018 Bankruptcy Case, the Debtor listed in Item 1.2:

 4 “Empty Lot in Hawaii, Lot 3-6-8-002-021,” corresponding to the “Property.” (Request for Judicial

 5 Notice, at ¶ “9.”)

 6            13.      On March 8, 2019, the Mortgage was foreclosed upon by order of the court in

 7 Hawaii. (“Foreclosure Action”). (Request for Judicial Notice, at ¶ “11.”)

 8            14.      On March 25, 2019, four months after the petition date in the 2018 Bankruptcy
 9 Case, Mr. Miroyan called Leu Okuda & Doi, the firm representing Mr. Chen in the Foreclosure

10 Action, and finally notified them for the first time that he filed the 2018 Bankruptcy Case.

11 (Declaration of Gang “Patrick” Chen, at ¶ “11.”)

12            15.      On or about December 29, 2018, creditor Kai Family 1998 Trust (“Kai Trust”)
13 filed its Motion for Relief from Stay (the “Kai Trust Motion”) in the 2018 Bankruptcy Case,

14 regarding an undeveloped lot located in Hawaii listed in Debtor’s Schedule A/B in Item 1.2

15 (referred to herein as “Parcel 53”). The Kai Trust Motion requested full and complete relief from

16 the bankruptcy automatic stay under 11 U.S.C. §362(d)(1), together with an in rem order under 11

17 U.S.C. §362(d)(4), to continue the judicial foreclosure of Parcel 53. (Request for Judicial Notice,

18 at ¶ “12.”)

19            16.      On March 15, 2019, the Court entered an order in the 2018 Bankruptcy Case

20 granting the Kai Trust Motion with in rem relief, finding that the Debtor “transferred Parcel 53

21 from Hawaiian Riverbend, LLC to himself without consent of the secured creditor or court

22 approval prior to filing for Chapter 13 bankruptcy, and that such conduct was designed to hinder,

23 delay and possibly defraud the Kai Trust… .” (Request for Judicial Notice, at ¶ “13,” emphasis

24 added.)

25            17.      The 2018 Bankruptcy Case was dismissed on June 24, 2019. (Request for Judicial
26 Notice, at ¶ “14.”)

27            18.      On April 14, 2022, Mr. Miroyan filed yet another bankruptcy case on behalf of
28 Hawaiian Riverbend, this time in the Northern District of California as opposed to Hawaii. That

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 1 Chapter 11 case, under Subchapter V, is now pending before United States Bankruptcy Judge

 2 Stephen L. Johnson, as Bankruptcy Case No. 22-50314 (the “2022 Riverbend Bankruptcy

 3 Case”). (Request for Judicial Notice, at ¶ “15.”)

 4            19.      It appears that this latest case was filed to further delay creditors, including Mr. Kai,

 5 from foreclosing on various real property rights. According to the schedules filed in the 2022

 6 Riverbend Bankruptcy Case, Hawaiian Riverbend had $250.00 in cash and no identified sources of

 7 income. (Request for Judicial Notice, at ¶ “17.”)

 8            20.      On June 6, 2022, a Motion to Convert the Case to Chapter 7 or, in the Alternative,

 9 Dismiss was filed in the 2022 Riverbend Bankruptcy Case. A hearing on that motion is still

10 pending. (Request for Judicial Notice, at ¶ “19.”)

11            21.      On August 2, 2022, the Subchapter V trustee filed a report indicating that no

12 distributions are expected in the 2022 Riverbend Bankruptcy Case. (Request for Judicial Notice, at

13 ¶ “20.”)

14            22.      On April 22, 2022, Mr. Miroyan filed the present bankruptcy case (the “Present
15 Case”), also under Chapter 13. As he did in the 2018 Bankruptcy Case, Debtor listed the Property

16 in Schedule A/B: Property. The Schedules value the Property at $1,750,000. (Request for Judicial

17 Notice, at ¶ “21.”)

18            23.      In Schedule D, filed in the Present Case, Debtor stated that Mr. Chen has a Deed of

19 Trust against the Property in the amount of $250,000. (Request for Judicial Notice, at ¶ “22.”)

20            24.      According to Schedules “I” and “J” filed in the Present Case, Debtor had $220 in

21 monthly net income at the time he filed his bankruptcy case. (Request for Judicial Notice, at ¶

22 “23.”) This amount did not justify a Chapter 13 plan under which Mr. Chen and other secured

23 creditors would receive significant payments.

24            25.      On May 19, 2022, the bankruptcy court reopened the 2018 Bankruptcy Case to
25 allow Mr. Chen to file a Motion for Relief from Stay on an in rem basis. (Request for Judicial

26 Notice, at ¶ “24.”)

27            26.      On June 22, 2022, Mr. Chen filed a Motion for Relief from Stay in the 2018

28 Bankruptcy Case. On July 18, 2022, the motion was denied. The court in the 2018 Bankruptcy

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 1 Case held that the motion was moot, as the 2018 Bankruptcy Case had already been dismissed. It

 2 held that reopening the case did not re-establish the automatic stay. Moreover, it noted that Mr.

 3 Miroyan filed the Present Case on April 22, 2022, and therefore a motion for relief from stay must

 4 be filed in the Present Case. (Request for Judicial Notice, at ¶ “25, 26.”)

 5            27.      On July 6, 2022, the Chapter 13 Trustee in the Present Case filed a Motion to

 6 Dismiss Case (Pre-Confirmation) Pursuant to 11 U.S.C. §§ 1307(c) and 109(e) (the “Motion

 7 to Dismiss”). The Trustee argues in the motion that Debtor’s secured debts far exceed the

 8 secured debt limit of $1,395,875, codified in 11 U.S.C. section 109(e). The Trustee argues that

 9 Debtor’s schedules blatantly undervalue secured creditor claims, giving “rise to Debtor’s lack of

10 good faith. . . .” (Request for Judicial Notice, at ¶ “27.”) A hearing on this motion is scheduled for

11 September 8, 2022. (Request for Judicial Notice, at ¶ “28.”)

12

13                                                       II.
14                                            LEGAL ANALYSIS
15 A.         The Debtor’s Bad Faith is Cause to Lift the Stay Pursuant to 11 U.S.C. § 362(d)(1)
16            Mr. Chen made a loan to Hawaiian Riverbend in October 2013, subject to a security lien

17 against the Property. Mr. Miroyan, the sole owner of this entity, has gone to great lengths since

18 then to avoid paying the loan back. In response to Mr. Chen’s initial efforts to collect, Hawaiian

19 Riverbend filed its 2016 Chapter 11 Bankruptcy Case. Despite committing to sell the Property

20 pursuant to a court-approved Chapter 11 Plan, Mr. Miroyan ultimately refused to comply with the

21 plan. The refusal resulted in dismissal of that case.

22            Undeterred, Mr. Miroyan caused Hawaiian Riverbend to fraudulently transfer Parcel 21 to

23 himself, without giving notice to Mr. Chen and without paying Hawaiian Riverbend’s debts.

24 According to the transfer document, Mr. Miroyan paid $10 for the Property.

25            In 2018, shortly after transferring the Property to himself, Mr. Miroyan filed the first of his

26 two Chapter 13 bankruptcy cases to invoke the automatic stay and prevent Mr. Chen’s foreclosure

27 sale. Mr. Miroyan gave no notice of the bankruptcy filing until months after the case was filed.

28 When his 2018 Bankruptcy Case was dismissed, Mr. Miroyan filed the Present case, once again

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 1 offering to pay creditors, including Mr. Chen, no money on their secured claims, proving that the

 2 four bankruptcy cases filed by Mr. Miroyan and Hawaiian Riverbend to date were merely tools to

 3 prevent collection efforts by Mr. Chen, among others.

 4            In addition to many other facts discussed below, the above facts evidence the requisite bad

 5 faith supporting “cause” for relief from the automatic stay under Section 362(d)(1).

 6            Relief from the automatic stay is governed by Section 362(d), which states in relevant part,

 7                       (d) On request of a party in interest and after notice and a hearing, the
                 court shall grant relief from the stay provided under subsection (a) of this
 8               section, such as by terminating, annulling, modifying, or conditioning such
                 stay—
 9

10                      (1) for cause, including the lack of adequate protection of an interest
                 in property of such party in interest.
11

12 11 U.S.C. § 362(d)(1).

13            While “cause” is not defined in the Code, a debtor's lack of good faith in filing a bankruptcy
14 petition has been deemed sufficient “cause” for lifting the automatic bankruptcy stay. See, e.g., In

15 re Kemble, 776 F.2d 802, 807 (9th Cir. 1985) (debtor's dilatory behavior a proper consideration in

16 lifting stay); Matter of Little Creek Development Co., 779 F.2d 1068, 1071 (5th Cir. 1986) (lack of

17 good faith constitutes "cause" for lifting stay). If it is obvious that a debtor is attempting

18 unreasonably to deter and harass creditors in their bona fide efforts to realize upon their securities,

19 good faith does not exist and cause exists to grant relief from stay. In re Thirtieth Place, Inc., 30

20 Bankr. 503, 505 (Bankr. App. 9th Cir. 1983) (quoting In re Loeb Apartments, Inc., 89 F.2d 461,

21 463 (7th Cir. 1937)).

22            The facts supporting Debtor’s bad faith are overwhelming. In October 2013, Mr. Chen
23 loaned $175,000 to Hawaiian Riverbend as evidenced by a Promissory Note secured by the

24 Mortgage on the Property. At the time Mr. Chen made the loan to Hawaiian Riverbend, the entity

25 owned multiple real properties, including Parcel 21. Hawaiian Riverbend gave Mr. Chen a lien on

26 the Property to secure repayment on the Promissory Note. Mr. Chen relied on the lien in his

27 decision to make the loan to Hawaiian Riverbend. However, the entity never made any payments

28 on the Promissory Note. (Declaration of Gang “Patrick” Chen, at ¶ “4.”)

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 1            Instead, to avoid Mr. Chen’s foreclosure efforts, Hawaiian Riverbend filed for bankruptcy

 2 in April 2016, over two years after payment in full was due under the Promissory Note. (Request

 3 for Judicial Notice, at ¶ “3.”) Despite confirming a plan of reorganization that required the entity

 4 to sell multiple real property parcels to pay creditors, Hawaiian Riverbend failed (and apparently

 5 refused) to comply with the confirmed plan terms, resulting in dismissal of the Chapter 11 case in

 6 2018 and an opportunity for creditors, including Mr. Chen, to finally enforce their rights against the

 7 entity’s assets. This was almost five years after Mr. Chen made his loan to Hawaiian Riverbend.

 8 (Request for Judicial Notice, at ¶ “4, 5.”)

 9            Mr. Chen therefore once again commenced foreclosure proceedings, only to discover after

10 the fact find that Mr. Miroyan transferred ownership of Parcel 21 from Hawaiian Riverbend to

11 himself. The transfer was made for no consideration and while Hawaiian Riverbend was

12 apparently insolvent, as evidenced by the fact that it had filed for bankruptcy in 2016 and again in

13 2022. At the very least, the entity’s then-recent bankruptcy experience and the circumstances

14 under which the Property transfer occurred, with no notice to Mr. Chen who was engaged in

15 foreclosure proceedings against the Property, strongly suggest a bad faith effort by Mr. Miroyan to

16 hinder, delay or defraud his creditors.

17            After causing Hawaiian Riverbend to transfer Parcel 21 to himself, without any apparent

18 consideration or notice to or permission from Mr. Chen who was in the midst of trying to foreclose

19 on the Property, Mr. Miroyan proceeded to file his first Chapter 13 Case in 2018. The 2018

20 Bankruptcy Case was filed shortly after the Property’s transfer to Mr. Miroyan and as a bad faith

21 effort to improperly prevent Mr. Chen’s foreclosure efforts.

22            A review of Debtor’s Schedules “I” and “J” in the 2018 Bankruptcy Case further bolsters

23 the conclusion that the case was not filed in good faith. According to Schedule “I,” Debtor’s

24 monthly income was $2,748.00 on the petition date. Schedule “J” identified monthly expenses as

25 $1,910. Setting aside the fact that these numbers do not appear to support the normal expenses

26 associated with the real property holdings identified in Schedule “A” (e.g., property taxes,

27 insurance, etc.), the $838.00 in net income identified by the Debtor appeared on its face to be

28 insufficient to support a reasonable Chapter 13 plan. (Request for Judicial Notice, at ¶ “10.”)

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 1            Filing a bankruptcy case for the sole purpose of invoking the automatic stay and disrupting

 2 state court litigation, without intending to use the special powers of the bankruptcy court to resolve

 3 or restructure the debtor's financial affairs, constitutes “bad faith.” See In re Silberkraus, 253 B.R.

 4 890, 905 (Bankr. C.D. Cal. 2000) (citing cases in support). That is what happened here.

 5            Debtor’s improper filing in the 2018 Bankruptcy Case was acknowledged by the Court. In

 6 response to a motion for relief from stay filed by creditor Kenneth Y. Kai with facts that mirror the

 7 facts in the present Motion, the Court granted relief from stay in rem, concluding,

 8               The Court having found that Michael Miroyan transferred Parcel 53 from
                 Hawaiian Riverbend, LLC to himself without consent of the secured
 9               creditor or court approval prior to the filing for Chapter 13 bankruptcy, and
                 that such conduct was designed to hinder, delay and possibly defraud the Kai
10
                 Trust, Kai Trust shall have in rem relief under 11 U.S.C. §362(d)(4) . . . .
11

12 (Request for Judicial Notice, at ¶ 16,” emphasis added.)

13            On June 24, 2019, the Court dismissed the 2018 Bankruptcy Case, after giving the Debtor

14 an opportunity to convert his case. (Request for Judicial Notice, at ¶ 14”.) When Mr. Chen again

15 commenced foreclosure proceedings, on April 22, 2022, Debtor filed the Present Case, again

16 seeking to halt efforts to foreclose on the Property, among others. Mr. Miroyan also filed a second

17 Chapter 11 case, under Subchapter V, for Hawaiian Riverbend. In short, Mr. Miroyan has now

18 filed four (4) bankruptcy cases, transferred various real properties, including the Property, from his

19 entities to himself, and has made no good faith efforts to reorganize his debts or pay any part of

20 such debts. In fact, two of the bankruptcy cases have already been dismissed, and hearings are

21 pending in the remaining two cases on motions to dismiss.

22            The operative facts described above establish Mr. Miroyan’s intent to delay and hinder Mr.

23 Chen from affecting a foreclosure sale. Under these facts, “cause” exists to justify a grant of this

24 motion under Section 362(d)(1).

25

26 B.         Mr. Chen is Entitled to an In Rem Order Under 11 U.S.C. § 362(d)(4)

27            The Court should grant relief from stay on an in rem basis under 11 U.S.C. § 362(d)(4), to

28 prevent Mr. Miroyan from continuing to file bankruptcy cases for the sole purpose of hindering or

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 1 delaying Mr. Chen’s efforts to foreclose on the Property. As the facts in this case and prior

 2 bankruptcy cases establish, Mr. Miroyan has transferred multiple real properties from his own

 3 wholly-owned entities to himself, including the Property. He then filed multiple bankruptcy cases

 4 that had no chance for success. Two of these cases were dismissed and two await hearings on

 5 motions to dismiss. Relief from stay on an in rem basis will allow Mr. Chen to finally enforce his

 6 claims against the Property, almost nine years after he made a loan to Hawaiian Riverbend.

 7            A creditor seeking relief from the automatic bankruptcy stay pursuant to Section 362(d)(4)

 8 of the Code must prove that:

 9                     (1)   the debtor engaged in a scheme,

10                     (2)   to delay, hinder or defraud the creditor(s), and

11                     (3)   which involved either the transfer of property without the creditor's consent

12 or court approval or multiple filings. Alakozai v. Citizens Equity First Credit Union (In re

13 Alakozai), 499 B.R. 698, 702-03 (BAP 9th Cir. 2013).

14            If proven, the bankruptcy court may enter an order giving the creditor relief from the

15 automatic stay that is “binding in any other case under this title purporting to affect such real

16 property filed not later than 2 years after the date of the entry of such order by the court . . . .” Id.

17            A court may infer an intent to hinder or delay from serial bankruptcy filings if the debtor

18 sought repeated bankruptcy protection for the sole purpose of stopping foreclosure actions. In re

19 Henderson, 395 B.R. 893, 902 (Bankr. D.S.C. 2008). Filing a bankruptcy petition as a means of

20 stopping a state foreclosure on real property qualifies as a plan to hinder and delay a creditor's

21 rights to property. In re McKanders, 42 B.R. 108, 109 (Bankr. N.D. Ga. 1984).

22            Section 362(d)(4) requires only evidence that the debtor intended to hinder, delay or
23 defraud. Thus, Mr. Chen need not prove existence of all three terms. See 11 U.S.C. § 362(d)(4).

24 The terms “delay” and “hinder” have been interpreted to mean similar efforts to “postpon[e] or

25 slow[ ].” In re Dorsey, 476 B.R. 261, 268 (C.D. Cal. 2012), quoting Black's Law Dictionary (9th

26 ed. 2009), In re Duncan & Forbes Dev., Inc., 368 B.R. at 34 (noting that these terms “have the

27 same meaning” as used in § 362(d)).

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 1            The facts in this case justify in rem relief under Code § 362(d)(4). Hawaiian Riverbend

 2 borrowed $175,000 from Mr. Chen in October 2013, nearly 9 years ago, executed the Promissory

 3 Note, and gave Mr. Chen a lien on the Property as a security. Payment in full on the loan was due

 4 by January 11, 2014, over 8 and a half years ago, which Hawaiian Riverbend failed to do. In fact,

 5 no payment has ever been made on this debt, despite four bankruptcy cases where one would have

 6 expected Mr. Miroyan to have made some payments on the secured debts.

 7            If relief from stay were not made on an in rem basis, it is clear that Mr. Miroyan and

 8 Hawaiian Riverbend will continue to file bankruptcy cases each time Mr. Chen attempts to enforce

 9 his lien against the Property. To protect the integrity of this Court’s relief from stay order, it is

10 requested that the order be issued on an in rem basis and with a waiver of any stay period

11 prescribed by Federal Rule of Bankruptcy Procedure 4001(a)(3).

12

13                                                      III.
14                                           REQUESTED RELIEF
15            WHEREFORE, Mr. Chen prays for entry of an order:

16            1.       Granting this Motion in full and providing full and complete relief from the stay

17 under 11 U.S.C. section 362(d)(1) to proceed under applicable non-bankruptcy law to enforce all

18 rights and remedies to foreclose upon and obtain possession of Parcel 21.

19            2.       Granting full and complete relief from the stay under 11 U.S.C. section 362(d)(4),

20 and that such order be in rem, to be binding and effective in any bankruptcy case commenced by or

21 against any bankruptcy debtor who claims any interest in Parcel 21 for a period of two years from

22 the date of the hearing on this Motion, without further notice, or upon recording of a copy of this

23 Court’s order or giving appropriate notice of its entry in compliance with applicable non-

24 bankruptcy law.

25            3.       Waiving the 14-day stay of enforcement provided in Rule 4001(a)(3) of the Federal

26 Rules of Bankruptcy Procedure.

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 1            4.       Such other and further relief as the Court finds fair and equitable.

 2

 3 DATED: August 11, 2022                          DANNING, GILL, ISRAEL & KRASNOFF, LLP

 4

 5
                                                   By:          /s/ Uzzi O. Raanan
 6                                                       UZZI O. RAANAN
                                                         Attorneys for Gang “Patrick” Chen, Secured
 7                                                       Creditor
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